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                    EXHIBIT A
                                     Case 3:20-cv-00981-CCC Document 2 Filed 06/17/20 Page 2 of 39

                   Supreme Cq                           ifltylvania
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                              Cou                           leas                  For Prothonotary Use Only:

                                                                                  Docket No
                                                                   Countv                                                      ^cc


                     The information collected on this form is used solely for court administration purposes. This form does not
                     supplement or replace the filing and service of pleadings or other papers as required by law or rules of court.
                   Commencement of Action:
                    0 Complaint           0 Writ of Summons                   0 Petition
      IS            0 Transfer from Another Jurisdiction                      0 Declaration of Taking
  all              Lead Plaintiffs Name:                                           Lead Defendant's Name:
                    Cheryl Ciccone                                                  Progressive Specialty Insurance Company^arid Progress
 m
 n                 Are money damages requested? 0 Yes                   • No
                                                                                      Dollar Amount Requested:
                                                                                            (check one)
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                                                                                                                            PT
 liftl Is this a Class Action Suit?
 vH^ihaS                                                    0Yes          ^No         Is this an MD J Appeal?             C£Yves       <0
 asfinSgs*                                                                                                                                   r>Q'
 Hi    A                Name of Plaintiff/Appellant's Attorney: Charles Kannebecker
                                                                                                                     ^
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                                      D    Check here if yoa have no attorney (arc a Self-Represented (Pro Se) Litiga^o                 cn
                                                                                                                                -5»-


                   Nature of the Case:        Place an "X" to the left of the ONE case category that most accurately describes your
                                              PRIMARY CASE. If you are making more than one type of claim, check the one that
                                              you consider most important.
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 mm TORT                  (do not include Mass Tort)
                    0 Intentional
                                                              CONTRACT (do not include Judgments)
                                                               • Buyer Plaintiff
                                                                                                        CIVIL APPEALS
                                                                                                            Administrative Agencies
                    • Malicious Prosecution                    • Debt Collection: Credit Card               • Board of Assessment
 ipijil             • Motor Vehicle                            0 Debt Collection: Other                     I~1 Board of Elections
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     pip
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     -PS'SLvf
                    0 Nuisance
                    0 Premises Liability
                    0 Product Liability (does not include
                                                               • Employment Dispute:
                                                                                                            B   Dept. of Transportation
                                                                                                                Statutory Appeal: Other

                        mass tort)
                                                                 Discrimination
 plilfi             0 Slander/Libel/ Defamation
®«n
last
                    0 Other:
                                                               • Employment Dispute: Other                  0 Zoning Board
                                                                                                            0 Other:
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 yq:vnfjt|L3                                                         Other:
                   MASS TORT
     0 Asbestos
     0 Tobacco
IP: 0 Toxic Tort - DES
;;f6 0 Toxic Tort - Implant
liit 0 Toxic Waste                                            REAL PROPERTY                             MISCELLANEOUS
III
 B
     0 Other:
                                                               0 Ejectment
                                                               0 Eminent Domain/Condemnation
                                                                                                            • Common Law/Statutory Arbitration
                                                                                                            O Declaratory Judgment

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     iliiijaiiiB
       r,,r>J
                                                               0 Ground Rent
                                                               • Landlord/Tenant Dispute
                                                               t~1 Mortgage Foreclosure: Residential
                                                                                                            0   Mandamus
                                                                                                                Non-Domestic Relations
                                                                                                                Restraining Order
     Sill PROFESSIONAL LIABLITY                                • Mortgage Foreclosure: Commercial           0   Quo Warranto
    0 Dental                                                   0 Partition                                  0   Replevin
    0 Legal                                                    0 Quiet Title                                0   Other:
|HS 0 Medical                                                  O Other:
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                   IN THE COURT OF COMMON PLEAS
                   OF PIKE COUNTY, PENNSYLVANIA

CHERYL CICCONE, individually
and on behalf of all others
similarly situated,

     Plaintiffs,                             NO.:           2020

     vs.                                     JURY TRIAL DEMANDED ^
                                                                m
PROGRESSIVE SPECIALTY INSURANCE
COMPANY and PROGRESSIVE
INSURANCE COMPANY

     Defendants.


                                                                TO • cn • co
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                               NOTICE

    You have been sued in court. If you wish to defend against
the claims set forth in the following pages, you must take action
within twenty (20) days after this complaint and notice are
served, by entering a written appearance personally or by
attorney and filing in writing with the court your defenses or
objections to the claims set forth against you. You are warned
that if you fail to do so the case may proceed without you and a
judgment may be entered against you by the court without further
notice for any money claimed in the complaint or for any other
claim or relief requested by the plaintiff. You may lose money or
property cr other rights important to you.
     YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO
NOT HAVE A LAWYER, GO TO OR TELEPHONE THE OFFICE SET FORTH BELOW.
THIS OFFICE CAN PROVIDE YOU WITH INFORMATION ABOUT HIRING A
LAWYER.
     IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE
ABLE TO PROVIDE YCU WITH INFORMATION ABOUT AGENCIES THAT MAY
OFFER LEGAL SERVICES TO ELIGIBLE PERSONS AT A REDUCED OR NO FEE.

                      Pike County Commissioners
                          5C6 Broad Street
                     Milford, Pennsylvania 18337
                           (570) 296-7744
     Case 3:20-cv-00981-CCC Document 2 Filed 06/17/20 Page 4 of 39




                   IN THE COURT OF COMMON PLEAS
                   OF PIKE COUNTY, PENNSYLVANIA

CHERYL CICCONE, individually
and on behalf of all others
similarly situated,                                        C       53
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     Plaintiffs,                             NO.          2^20.           CO O(')
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     vs.                                     JURY TRIAL DEKA&RSD
                                                                  o 5
PROGRESSIVE SPECIALTY INSURANCE                                . r<"» R? c/>
                                                                -pel   ch
COMPANY and PROGRESSIVE
INSURANCE COMPANY

     Defendants.



                      GLASS ACTION COMPLAINT

     Plaintiff, Cheryl Ciccone, individually and on behalf of all

other persons similarly situated, by and rhrough her counsel, THE

LAW OFFICE OF CHARLES KANNEBECKER, allege the following for their

class action complaint against the Defendants.


                            INTRODUCTION

     1. Plaintiffs, individually, and as class representative for

all similarly situated individuals, are insureds covered by auto

insurance policies issued by Defendants Progressive Specialty

Insurance Company and Progressive Insurance Company in

Pennsylvania and in accordance with Pennsylvania law which

provide medical benefit coverage in the event that an insured

suffers injuries as a result of a moior vehicle accident.

    2. Plaintiffs, individually, and as class representative for

all similarly situated individuals, suffered injuries as a result
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of a motor vehicle accident.

     3. Plaintiff sought and underwent medical treatment for

those injuries.

     4. Defendants did not pay Plaintiffs' medical billing for

those injuries.

     5. Defendants ordered Plaintiff to submit to an insurance

physical exam without showing good cause to a Court, and without

Court Order directing Plaintiffs to submit to an insurance

physical exam.

     6. Defendants also refused to pay Plaintiff's medical

benefits until the improper insurance physical exam was

completed, even though there was no Court Order compelling

Plaintiffs to submit to an insurance physical exam or good cause

having been shown by Defendants for Plaintiffs to submit to an

insurance physical exam.

     1. As a consequence, the Plaintiffs, and other members of

the class they seek to represent, are entitled to judgment

ordering Defendants to pay the medical billing which Defendants

have not paid and to recover from the Defendants their damages,

penalties, punitive damages, attorney fees, interest, costs, and

other such other and further relief as this Court may deem just

and proper.
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                               PARTIES

     8. Plaintiff, Cheryl Ciccone, is an adult individual, sui

juris.

     9. Defendant Progressive Specialty Insurance Company is a

corporation duly authorized and licensed to issue insurance

policies and conduct business in the Commonwealth of

Pennsylvania.

     10. Defendant Progressive Insurance Company is a corporation

duly authorized and licensed to issue insurance policies and

conduct business in the Commonwealth of Pennsylvania.


                      JURISDICTION AND VENUE

     11. This court has personal jurisdiction over Defendant

Progressive Specialty Insurance Company in this action as

Defendant Progressive Specialty Insurance Company sought and

received authority to conduct business in the Commonwealth of

Pennsylvania and has continuous and systemic contacts with the

Commonwealth of Pennsylvania in that Defendant conducts business

and has substantial sales in the Commonwealth of Pennsylvania.

     12. This court has personal jurisdiction over Defendant

Progressive Insurance Company in this action as Defendant

Progressive Specialty Insurance Company sought and received

authority to conduct business in the Commonwealth of Pennsylvania

and has continuous and systemic contacts with the Commonwealth of

Pennsylvania in that Defendant conducts business and has

substantial sales in the Commonwealth of Pennsylvania.
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     13. The Commonwealth of Pennsylvania has specific

jurisdiction over the Defendants as the cause of action herein

arises out of Defendants' forum-related activities in having sold

the insurance policies in the Commonwealth of Pennsylvania.

    14. Venue is proper in Pike County and this Court in that

the Defendants have continuous and systemic contacts with the

County of Pike in that Defendants regularly conduct business in

the County of Pike.


                         FACTUAL BACKGROUND

    15. At all times relevant hereto, Plaintiff, Cheryl Ciccone,

was insured under a policy of auto insurance issued by Defendants

in and under the laws of the Commonwealth of Pennsylvania.

    16. On November 13, 2017, Plaintiff Cheryl Ciccone was

involved in a motor vehicle accident within the Commonwealth of

Pennsylvania in which she sustained numerous physical injuries.

     17. Plaintiff Cheryl Ciccone was treated by medical

providers for the injuries which she sustained in the November

13, 2017, motor vehicle accident.

    18. Defendants, however, refused to accord benefits to the

Plaintiff.

     19. On September 11, 2018, Defendants issued a letter

concerning the Plaintiff's medical benefits.

     20. In that letter of September 11, 2018, Defendants

directed Cheryl Ciccone to submit to a medical benefits physical

examination.
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                  •                              •
     21. On April 9, 2019, Defendants denied Plaintiff's claim

for benefits because of her purported failure to attend rhe

medical examination demanded by Defendants.

     22. Defendants did not demonstrate "good cause" to a Court

in order to secure a Court Order compelling Cheryl Ciccone's

submission to a physical examination.

     23. Defendants did not demonstrate "good cause" to any court

at all.

     24. In fact, Defendants did not even petition a court to

compel the physical examination of Plaintiff.

     25. Consequently, there was no Court Order based on good

cause directing Plaintiff to submit to a physical exam.

     26. Consequently, there was no Court Order directing

Plaintiff to submit to a physical exam at all.

    27. Further, Plaintiff has not failed to comply 'with any

Court Order to submit to physical examination.

    28. Instead, Defendants failed to comply with lav/ and

ordered Plaintiff to submit to an insurance physical exam without

showing good cause to a Court and without Court Order.

    29. Defendants also refused to pay Plaintiff's medical

benefits until the improper insurance physical exam was completed

even though Defendants did not secure a Court Order compelling

Plaintiff to submit to insurance physical exams and Plaintiff did

not fail to comply with a Court Order to submit to insurance

physical exams.
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                  •                              •
     30. Defendants' conduct to unilaterally command physical

exams of insureds, to not demonstrate good cause for physical

exams to a court, and to refuse benefits even absent any lack of

compliance with a court order, is a company-wide policy and

procedure for Defendants.

    31. Defendants' conduct to unilaterally command physical

exams of insureds, to not demonstrate good cause for physical

exams to a court, and to refuse benefits even absent any lack of

compliance with a court order is authorized and approved by

company management for Defendants.

    32. Defendants' conduct to unilaterally command unlawful

physical exams of insureds based on policy terms, to nor

demonstrate good cause for physical exams to a court, to refuse

benefits even absent any lack of compliance with a court order

or based on illegal exam is part of a systemic plan to avoid

paying medical benefits to its insureds with the goal and purpose

of reducing the amount that Defendants had to pay in benefits for

its own gain and advantage.

     33. Defendants repeatedly asserted that the Plaintiff

insureds were legally required to submit to insurance physical

exams unilaterally commanded by Defendants based on policy terms

and that the Defendants was permitted to refuse to pay medical

benefits unril the improper physical exam was completed.

     34. Defendants, through their conduct, actively,

affirmatively and systematically asserted to the Plaintiff
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insureds that she was required to submit to insurance physical

exams unilaterally commanded by Defendants based on policy terms

and that the Defendants were permitted to refuse to pay medical

benefits until rhe improper physical exam was completed.

     35. Defendants, through their conduct, actively and

systemicaliy refused payment of medical billing owing to or on

behalf of its insureds.

     36. Defendants, through their conduct, actively and

systematically breached the agreements with Plaintiff and members

of the Insured Class by improperly demanding that Plaintiff and

members of the Insured Class attend medical exams with examiners

selected by the Defendants premised upon purported policy

requirements and then denying benefits for failure to attend or

by denying benefits based upon an illegal medical exam.

     37. Defendants' actions were pursuant to a common policy and

practice with respect to the Plaintiff and as to all other class

members.

     38. As a result of Defendants' conduct, Plaintiff,

individually and as class representative for all similarly

situated individuals, suffered harm in that uhey owe money for

medical billing that Defendants refused to pay.

    39. As a result of Defendants' conduct, Plaintiff,

individually and as class representative for all similarly

situated individuals, suffered harm in that they were denied

medical benefits or lost access to medical care.
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     40. Defendants' actions as aforesaid were done purposefully

and intentionally with the consent and approval of Defendants'

management.

     41. Plaintiff seeks class wide determinations as to

Plaintiff Cheryl Ciccone and all others similarly situated.



                        STATUTORY PROVISIONS

     42.   The present matter arises under Pennsylvania Motor

Vehicle Financial Responsibility Lav; 75 P.A.C.S.A. § 1796

(hereinafter PMVFRL).

     43. Pennsylvania Motor Vehicle Financial Responsibility Law

75 P.A.C.S.A. § 1796 provides in relevant part as follows:


     § 1796. Mental or physical examination of person.

    (a) General rule.--Whenever the mental or physical
    condition of a person is material to any claim for
    medical, income loss or catastrophic loss benefits, a
    court of competent jurisdiction or the administrator of
    the Catastrophic Loss Trust Fund for catastrophic loss
    claims may order the person to submit to a mental or
    physical examination by a physician. The order may only
    be made upon motion for good cause shown. The order
    shall give the person to be examined adequate notice of
    the time and date of the examination and shall state
    the manner, conditions and scope of the examination and
    the physician by whom it is to be performed. If a
    person fails to comply with an order to be examined,
    the court or the administrator may order that the
    person be denied benefits until compliance.
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     44. Pursuant to Pennsylvania Motor Vehicle Financial

Responsibility Law §1796, whenever the physical condition is

material to any claim, for medical benefits, a Court of competent

jurisdiction may order a person to submit to a physical

examination. That Order may only be made for good cause shown and

the benefits may be denied only if the person fails to comply

with that Court Order.

     45. As a result of its actions, Defendants violated 75

P.A.C.S.A. § 1796 in that:

    a)    Defendants did not demonstrate "good cause" to a
          Court in order to secure a Court Order compelling
          Cheryl Ciccone's submission to a physical
          examination;

    b)    Defendants did not demonstrate "good cause" to any
          court at all;

    c)    Defendants did not petition a court at all to
          compel the physical examination of Cheryl Ciccone;

    d)    As a consequence, there was no Court order based
          on good cause directing Plaintiffs to submit to a
          physical exam;

    e)    As a consequence, there was no court order
          directing Plaintiff to submit to a physical exam
          at all;

    f}    As a consequence, Plaintiffs had not failed to
          comply with any court order to submit to physical
          examination;

    g)   Defendants also refused to pay medical benefits
         until the improper insurance physical exam was
         consummated even though there was no court order
         compelling Plaintiffs to submit to insurance
         physical exams or lack compliance with court
         orders to submit insurance physical exams.
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     46. Defendants' actions to unilaterally command physical

exams of insureds, to not demonstrate good cause for physical

exam to a court, and to refuse benefits even absent any lack of

compliance with a court order are in violation of law as a

result.

                      CLASS ACTION ALLEGATIONS


A.   DEFINITION OF THE CLASS

     47. The plaintiff, Cheryl Ciccone, brings this action

individually and on behalf of a class of similarly situated

persons as a class action pursuant to the Pennsylvania Rules of

Civil Procedure on behalf the classes defined as:

     a.    All persons who suffered harm and damages as a result
           of defendants' illegal actions relative to medical
           exams of insureds in violation of law;

     b.   All persons injured in motor vehicle accidents and
          insured under Pennsylvania auto insurance policies
          issued by Defendants that provided for medical
          benefits coverage whom Defendants required or
          directed to submiz to insurance physical exams
          'without Court order directing the person to submit
          to physical exams;

     c.    All persons injured in motor vehicle accidents and
           insured under Pennsylvania auto insurance policies
           issued by Defendants that provided for medical
           benefits coverage to whom Defendants stated that
           it would not pay medical billing unr.il the
           improper insurance physical exam was completed
           even though there was no court order compelling
           the person to submit to an insurance physical exam
           or lack compliance with a court order to submit an
           insurance physical exam;

     d.    All persons injured in motor vehicle accidents and
           insured under Pennsylvania auto insurance policies
           issued by Defendants that provided for medical
           benefits coverage whom Defendants required or
     Case 3:20-cv-00981-CCC Document 2 Filed 06/17/20 Page 14 of 39

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          directed to submit to insurance physical exams
          without Court order compelling the person to
          submit: to physical exams and as to whom Defendants
          did not pay benefits based on the person's failure
          to attend the physical exam;

     e.   All persons injured in motor vehicle accidents and
          insured under Pennsylvania auto insurance policies
          issued by Defendants that provided for medical
          benefits coverage whom Defendants subjected to its
          aforementioned procedure and as to whom it did not
          then pay medical benefits based on the exam.


B.   NUMEROSITY

     48. The Class is so numerous as to render joinder of all

members impracticable. The identities of a majority of the Class

members are presently unknown but are ascertainable through

appropriate discovery. Plaintiff reasonably believes that there

are hundreds of members in the proposed Class. Members of the

Class may be identified from records maintained by Defendants and

may be notified of the pendency of this action by mail, or the

internet, or publication using the form of notice similar to that

customarily used in class actions.


C.   TYPICALITY

     49. Plaintiff's claims are typical of the claims of ether

members of the Class. All such claims arise out of the

Defendants' same 'wrongful course of conduct in violation of the

same statute. Plaintiff and the proposed Class members have

suffered a common injury arising out of the Defendants' common

course of conduct as alleged herein.
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D.   EXISTENCE AND PREDOMINANCE OF COMMON ISSUES

     50. Common questions of law and fact are applicable to all

members of the Class and predominate over any questions that

might solely affect individual members of the class.

     51. The common questions of law and fact arise from and

concern the following facts, actions and issues:

     a.    All Class members are insured through automobile
           insurance policies issued by Defendants under and
           subject to the laws of the Commonwealth of
           Pennsylvania;
     b.    All class members sought medical benefits under
           the automobile policies issued by Defendants;
     c.    Defendants unilaterally directed all members of
           the class no submit to physical examination
           without Court order requiring the Plaintiffs to
           submit to physical exams;
     d.    Defendants refused payment of medical billings for
           all members of the class for the same reason and
           on the same basis;
     e.    Defendants' actions as to all members of the class
           are alleged to have violated the same law (75
           P.A.C.S.A. §1796); and
     f.    Defendants violated 75 P.A.C.S.A. §1796 through
           its practices and procedures of demanding physical
           exams without Court Order and refusing benefits
           where there is no lack of compliance with any
           Court Order.

     52. The questions of law and fact common to the members of

the Class, as above noted, predominate over any questions

affecting only individual members, and thus, this class action is
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superior to other available methods for the fair and efficient

adjudication of this controversy.


E.   SUPERIORITY

     53. A class action is superior tc other available methods

for a fair and efficient adjudication of this controversy because

individual joinder of all members of the Class is impractical.

Furthermore, damages suffered by members of the Class may be

relatively small when compared to the expense and burden of

individual litigation, which would make it difficult or

impossible for individual members of the Class to obtain relief.

The interests of judicial economy favor adjudicating the claims

of the Class on a classwide basis rather than an individual

basis. There will be no difficulty in the management of this

action as a class action.


F.   ADEQUATE REPRESENTATION

     54. Plaintiff will fairly and adequately protect and

represent the interests of the Class and have no interest

antagonistic to, or in conflict with, those of other Class

members.

     55. Plaintiff is willing and prepared to serve the proposed

Class in a representative capacity with all the obligations and

duties material herein.

     56. Plaintiff has the time and resources to prosecute this

action and has retained qualified counsel who have had experience
    Case 3:20-cv-00981-CCC Document 2 Filed 06/17/20 Page 17 of 39

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in matters involving the rights of insureds and both state and

federal court litigation. Plaintiff intends to prosecute this

action for the benefit of the Class.


G. RISKS OF INCONSISTENT OR VARYING ADJUDICATION

     57. Class treatment is proper in this proceeding in order to

avoid inconsistent or varying adjudications with respect to

individual Class members. Separate actions by individual members

of the Class would create a risk that adjudication of disputed

issues of law or fact as to some of the former non-bargaining

unit employees would be binding upon other Class members not

parties to the adjudication, or would otherwise substantially

impair or impede their ability to protect their interests.

     58. The Class meets all the requirements for

class certification as prescribed by the Pennsylvania Rules of

Civil Procedure.



                               COUNT I

                        DECLARATORY JUDGMENT

     59. Plaintiff, Cheryl Ciccone, individually and on behalf of

a Class of Similarly Situated Persons, repeats and re-alleges the

allegations of the preceding paragraphs as if fully restated

herein.

     60. Pennsylvania Motor Vehicle Financial Responsibility Law

§1796 provides in relevant part chat whenever the physical

condition is material to any claim for medical benefits, a Court
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of competent jurisdiction may order a person to submit to a

physical examination, that the Order may only be made for good

cause shown, and that the benefits may be denied only if the

person fails to comply with that Court Order.

     61. Defendants violated 75 Pa.C.S.A. § 1796 in that:

     a)   Defendants did not demonstrate "good cause" to a
          Court in order to secure a Court, Order compelling
          Cheryl Ciccone's submission to a physical
          examination;

     b)   Defendants did not demonstrate "good cause" to any
          court at all;

     c)   Defendants did not petition a court at all to
          compel the physical examination of Cheryl Ciccone;

     d)   As a consequence, there was no Court order based
          on good cause directing Plaintiff to submit to a
          physical exam;

     e)   As a consequence, there was no court order
          directing Plaintiff to submit to a physical exam
          at all;

    f)    As a consequence, Plaintiff has not failed to
          comply with any court order to submit to physical
          examination;

     g)   Defendants also refused to pay medical benefits
          until the improper insurance physical exam was
          completed even though there was no court order
          compelling Plaintiffs to submit to insurance
          physical exams or lack compliance with court
          orders to submit insurance physical exams.

    62. Defendants' actions to unilaterally command physical

exams of insureds, to not demonstrate good cause for physical

exams to a court, and to refuse benefits even absent any lack of

compliance with a court order are in violation of law as a

result.
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     63. Accordingly, Plaintiff, Cheryl Ciccone, individually ana

on behalf of a Class of Similarly Situated Persons, are entitled

to a Declaratory Judgment declaring that:

     a)   Defendants must comply with Pennsylvania Motor Vehicle
          Financial Responsibility Law 75 P.A.C.S.A. §1796;

     b)   That whenever the mental or physical condition of an
          insured is material to any claim for medical benefits,
          Defendants must Motion a Court of competent
          jurisdiction for an Order directing the insured to
          submit to a mental or physical examination;

    c)    That any such motion must be for good cause shown;

     d)   That only if a person fails to comply with an order by
          the Court to be examined, that the Court may order that
          the person be denied benefits until compliance.

     e)   That Defendants be prohibited from enforcing, or
          attempting to enforce, any policy terms which state, or
          purport to authorize, Defendants to demand
          Plaintiff to attend a physical exam without having
          demonstrated good cause to a court and without having
          secured a Court Order compelling Plaintiff's attendance
          at a physical exam;

     f)   That Defendants remove from all of its Pennsylvania
          automobile policies any policy terms which state, or
          purport to authorize, Defendants to demand
          Plaintiff to attend a physical exam without having
          demonstrated good cause no a court and without having
          secured a Court Order compelling Plaintiff's attendance
          at a physical exam;

     g)   Thau Defendants notify all of its Pennsylvania
          automobile insureds that its policy terms which state,
          or purport to authorize, Defendants to demand
          Plaintiff to attend a physical exam without having
          demonstrated good cause to a court and without having
          secured a Court Order compelling Plaintiff's attendance
          at a physical exam are void and unlawful;

     h)   That Defendants notify all of its Pennsylvania
          automobile insureds of the Pennsylvania Supreme Court's
          decision in Sayles v. Allstate Ins. Co.;
     Case 3:20-cv-00981-CCC Document 2 Filed 06/17/20 Page 20 of 39




     i)   That Defendants notify all of its Pennsylvania
          automobile insureds of Justice Baer's concurring
          opinion in Sayles v. Allstate Ins. Co., specifically
          wherein he states that there is an "unsettling trend
          among automobile insurance companies to attempt to
          circumvent clear statutory language through contrary
          policy provisions" and that "the insurance industry
          should be more circumspect when it is tempted to
          'adjust' provisions of the MVFRL to its benefit
          notwithstanding contrary statutory provisions.";

     j)   That Defendants notify all of its Pennsylvania
          automobile insureds that it attempted to, and in many
          cases actually did, circumvent clear statutory language
          by enforcing its IME policy provision in order to deny
          its own insureds the benefits for which they pay;

     k)   That Defendants notify all of its Pennsylvania
          automobile insureds that it gave into its temptation to
          unilaterally "adjust" the provisions of the
          Pennsylvania MVFRL, enacted to protect its insureds, by
          inserting into its policy the IME provision, designed
          solely to benefit itself at the expense of its
          insureds, and enforcing said provision against its
          insureds;

     1)   That Defendants notify all of its Pennsylvania
          automobile insureds that its IME policy provision
          violated Pennsylvania law and was false and deceiving;

     m)   That Defendants notify all of its Pennsylvania
          automobile insureds that it knew its IME policy
          provision violated the plain language of Pennsylvania
          law, but demanded its insureds submit to medical exams
          anyways;

     n)   That Defendants is legally liable for the damages
          caused by Defendants' improper actions relative to
          medical exams of insureds in violation of law.


                               COUNT II

                         BREACH OF CONTRACT

    64.   Plaintiff, Cheryl Ciccone, individually and on behalf

of a Class of Similarly Situated Persons, repeats and re-alleges

the allegations of the preceding paragraphs as if fully restated
   Case 3:20-cv-00981-CCC Document 2 Filed 06/17/20 Page 21 of 39

                    •                           •
herein.

     65. That at all times relevant hereto, the Plaintiff and

members of the Insured Class had motor vehicle insurance policies

with Defendants that contractually obligated Defendants to

provide PIP medical benefits to Insured Plaintiff and members of

the Insured Class for injuries sustained from motor vehicle

accidents.

     66. That the policy of insurance issued by the Defendants to

the Plaintiffs was to provide medical coverage to the Plaintiffs

in the event that the Plaintiffs suffered injury as a result of

an auto accident.

     67. That Plaintiff Ciccone suffered damages, incurred

medical costs and sustained injuries that necessitated medical

treatment as a result of an auto accident.

     68. That Defendants, in accordance with its obligations

under the aforesaid policy and in accordance with Pennsylvania

law, was obligated to provide medical benefits to the Plaintiffs.

     69. That despite demand, the Defendants refused to provide

coverage in accordance with its obligations under the subject

policy of insurance and in accordance with Pennsylvania law.

     70. As set forth herein, Defendants systematically breached

the agreements with Plaintiff and members of the Insured Class by

improperly demanding that Plaintiff and members of the Insured

Class attend medical exams with examiners selected by the

Defendants premised upon purported policy requirements and then
     Case 3:20-cv-00981-CCC Document 2 Filed 06/17/20 Page 22 of 39

                    o
denying benefits for failure to attend or by denying benefits

based upon an illegal medical exam.

     71. That as a result of the Defendants' breach, the

plaintiff and members of the Insured Class suffered losses

including, but not limited to, unpaid medical billing.



                              COUNT III

           CLAIMS FOR VIOLATIONS OF 75 Pa.C.S.A. §1796

     72. Plaintiff, Cheryl Ciccone, individually and on behalf of

a Class of Similarly Situated Persons, repeats and re-alleges the

allegations of the preceding paragraphs as if fully reseated

herein.

     73. Pennsylvania Motor Vehicle Financial Responsibility Law

§1796 provides in relevant part that whenever the physical

condition is material to any claim for medical benefits, a Court

of competent jurisdiction may order a person to submit to a

physical examination, that the Order may only be made for good

cause shown, and chat the benefits may be denied only if the

person fails to comply with that Court Order.

     74. Defendants violated 75 Pa.C.S.A. § 1796 in that:

    a)    Defendants did not demonstrate "good cause" no a
          Court in order to secure a Court Order compelling
          Cheryl Ciccone's submission to a physical
          examination;

     b)   Defendants did not demonstrate "good cause" to any
          court at all;

    c)    Defendants did not petition a court at all to
          compel the physical examination of Cheryl Ciccone;
       Case 3:20-cv-00981-CCC Document 2 Filed 06/17/20 Page 23 of 39




       d)    There was no Court order based on good cause
             directing Plaintiff to submit to a   physical
             exam;

       e)    There was no court order directing Plaintiff to
             submit to a physical exam at all;

       f)    Plaintiffs did not fail to comply with any court
             order to submit to physical examination;

       c)    There were no Court Orders selecting the physician
             by whom the exam was to be performed;

       h)    There were no Court Orders setting the manner,
             conditions and scope of the exams;

       i)    Defendants refused to pay medical benefits until
             and unless the illegal insurance physical exam was
             completed.


       75. Defendants, through their conduct, actively and

systematically violated 75 Pa.C.S.A. §1796 by improperly

demanding that Plaintiff and members of the Insured Class attend

medical exams with examiners selected by the Defendants premised

upon purported policy requirements and then denying benefits for

failure to attend or by denying benefits based upon an illegal

medical exam.

       76. As a result of Defendants' conduct, Plaintiff suffered

harm in that she owes at least $3,484.04 for medical billing that

Defendants refused to pay.

       77. As a result of Defendants' conduct, other similarly

siruated individuals insured by Defendants suffered harm in that

they owe money for medical billing that Defendants refused to

pay.
     Case 3:20-cv-00981-CCC Document 2 Filed 06/17/20 Page 24 of 39

                  •                              •
     78. As a result of Defendants' conduct, Plaintiff,

individually and as class representative for all similarly

situated individuals, suffered harm in that they were delayed in

or denied access to medical care.

     79. Defendants' conduct to unilaterally command physical

exams of insureds based on policy terms, to not demonstrate good

cause for physical exam to a court, and to refuse benefits even

absent any lack of compliance with a court order is part of a

systemic plan to avoid paying medical benefits to its insureds

with the goal and purpose of reducing the amount that Defendants

had to pay in benefits for their own gain and advantage.

     80. Defendants' actions secured gain and advantage for

Defendants through the savings which it realized by refusing to

pay the medical billing of its insureds.



                              COUNT IV

  CLAIMS FOR VIOLATIONS OF PENNSYLVANIA UNFAIR TRADE PRACTICES
       AND CONSUMER PROTECTION LAW 73 Pa.C.S. §201 et seq.


     81. Plaintiff, Cheryl Ciccone, individually and on behalf of

a Class of Similarly Situated Persons, repeats and re-alleges the

allegations of the preceding paragraphs as if fully restated

herein.

     82. Defendants' conduct falls within the purview of the

Pennsylvania Unfair Trade Practices and Consumer Protection

Statute, 73 Pa.C.S. §201, et seq.
    Case 3:20-cv-00981-CCC Document 2 Filed 06/17/20 Page 25 of 39

                   o
    83. Defendants are a "person" within the meaning of the

Statute, and as such, is prohibited from engaging in deceptive

acts and practices.

    84. Plaintiffs allege that the acts and omissions of

Defendants, by their agents, servants, and/or employees, acting

within the scope of their employment or authority, constitute

violations of Pennsylvania's Unfair Trade Practices and Consumer

Protection Lav;, codified at 73 Pa.C.S. §201 et seq.

    85. Defendants employed unconscionable commercial practices

and/or other unlawful acts in connection with the sale of motor

vehicle insurance in violation of the Statute.

    86. Defendants, by their agents, servants, and/or employees

acting within the scope of their employment and/or authority,

willfully and intentionally falsely stated to Plaintiff and Class

members that Cheryl Ciccone and the other insureds were required

to submit to physical exam at the unilateral direction of

Defendants based on policy terms.

    87. The conduct by Defendants constitutes unconscionable

commercial practices and violations of Pennsylvania's Unfair

Trade Practices and Consumer Protection Law, intending and

securing Plaintiffs' reliance thereon.

    88. Defendants, by their agents, servants, and/or employees

acting within the scope of their employment and/or authority,

acted willfully and intentionally in disregard for the injury and

risk of loss inflicted upon Plaintiff and class members.
        Case 3:20-cv-00981-CCC Document 2 Filed 06/17/20 Page 26 of 39

                       e                             •
        89. As a direct and proximate result of Defendants' actions,

Plaintiffs and members of the Class have suffered injury in the

form of harm and loss.

        90. As a direct and proximate result of Defendants'

prohibited acts and omissions under the UTPCPL, Insured

Plaintiffs and Insured Class members have suffered ascertainable

losses for which they may recover under the Act.


                             RELIEF REQUESTED

        91. Plaintiff, Cheryl Ciccone, individually and on behalf of

a Class of Similarly Situated Persons, repeats and re-alleges the

allegations of the preceding paragraphs as if fully restated

herein.

        WHEREFORE, Plaintiff, Cheryl Ciccone, individually and on

behalf of a Class of Similarly Siruated Persons, respectfully

request that this Court grant judgment in Plaintiff's favor:

        A. Determining that this action is a proper class action,

certifying the named Plaintiff as class representative for the

classes alleged herein and Plaintiff's counsel as Class Counsel;

        3. Awarding judgment as to Count I in favor of named

Plaintiff and each Other Similarly Situated Individual that

Defendants' conduce was a violation of Pennsylvania Motor Vehicle

Financial Responsibility Law 75 P.A.C.S.A. §1796 and declaring

that:

        1)   Defendants must comply with Pennsylvania Motor Vehicle
             Financial Responsibility Law 75 P.A.C.S.A.;
Case 3:20-cv-00981-CCC Document 2 Filed 06/17/20 Page 27 of 39

               ©
      That whenever the mental or physical condition of an
      insured is material to any claim for medical benefits
      Defendants must Motion a Court of competent
      jurisdiction for an Order directing the insured to
      submit to a mental or physical examination;

      That any such motion must be for good cause shown;

      That only if a person fails to comply with an order by
      the Court to be examined, that the Court may order that
      the person be denied benefits until compliance.

      That Defendants be prohibited from enforcing, or
      attempting to enforce, any policy terms which state, or
      purport to authorize, Defendants to demand
      Plaintiff to attend a physical exam without having
      demonstrated good cause to a court and without having
      secured a Court Order compelling Plaintiff's attendance
      at a physical exam;

      That Defendants remove from all of its Pennsylvania
      automobile policies any policy terms which state, or
      purport to authorize, Defendants to demand
      Plaintiff to attend a physical exam without having
      demonstrated good cause to a court and without having
      secured a Court Order compelling Plaintiff's attendance
      at a physical exam;

      That Defendants notify all of its Pennsylvania
      automobile insureds than its policy terms which state,
      or purport to authorize, Defendants to demand
      Plaintiff to attend a physical exam without having
      demonstrated good cause to a court and without having
      secured a Court Order compelling Plaintiff's attendance
      at a physical exam are void and unlawful;

      That Defendants notify all of its Pennsylvania
      automobile insureds of the Pennsylvania Supreme Courr's
      decision in Sayles v. Allstate Ins. Co.;

      That Defendants notify all of its Pennsylvania
      automobile insureds of Justice Baer's concurring
      opinion in Sayles v. Allstate Ins. Co., specifically
      wherein he states that there is an "unsettling trend
      among automobile insurance companies to attempt to
      circumvent clear statutory language through contrary
      policy provisions" and that "the insurance industry
      should be more circumspect when it is tempted to
      ^adjust' provisions of the MVFRL to its benefit
    Case 3:20-cv-00981-CCC Document 2 Filed 06/17/20 Page 28 of 39

                   G
           notwithstanding contrary statutory provisions.";

     10.   That Defendants notify all of its Pennsylvania
           automobile insureds that it attempted to, and in many
           cases actually did, circumvent clear statutory language
           by enforcing its IKE policy provision in order to deny
           its own insureds the benefits for which they pay;

     11.   That Defendants notify all of its Pennsylvania
           automobile insureds that it gave into its temptation to
           unilaterally "adjust" the provisions of the
           Pennsylvania MVFRL, enacted to protect its insureds, by
           inserting into its policy the IME provision, designed
           solely to benefit itself at the expense of ins
           insureds, and enforcing said provision against its
           insureds;

     12.   That Defendants notify all of its Pennsylvania
           automobile insureds that its IME policy provision
           violated Pennsylvania law and was false and deceiving;

     13.   That Defendants notify all of its Pennsylvania
           automobile insureds that it knew its IME policy
           provision violated the plain language of Pennsylvania
           law, but demanded its insureds submit to medical exams
           anyways.

     14.   That Defendants are legally liable for the damages
           caused by defendants' improper actions relative to
           medical exams of insureds in violation of law

     15.   Along with all other relief requested throughout the
           Complaint.


    C. Awarding judgment as to Count II in favor of named

Plaintiff and against Defendants for:

           1.   $3,484.04 and other amounts which represent the
                sum of all medical bills the Defendants did not
                pay as to uhe named Plaintiff;

           2.   Interest at the rate of 12% on the outstanding
                billing;

           3.   Costs;

                Attorneys fees.
    Case 3:20-cv-00981-CCC Document 2 Filed 06/17/20 Page 29 of 39




          5.    Along with all other relief requested throughout
                the Complaint.


    D. Awarding judgment as to Count II in favor of each Other

Similarly Situated Individual and against Defendants for:

          1.    An amount which represents the sum of all medical
                bills the Defendants did not pay as to each member
                of the class;

          2.    Interest at the rate of 12% on the outstanding
                billing;

          3.    Costs;

          4.    Attorneys fees.

          5.    Along with all other relief requested throughout
                the Complaint.


    E. Awarding judgment as to Count III in favor of named

Plaintiff and against Defendants for:

          1.    $3,484.04 and other amounts which represents the
                sum of all medical bills the Defendants did not
                pay as to the named Plaintiff;

          2.    Interest at the rate of 12% on the outstanding
                billing;

          3.    Attorneys fees;

          4.    Along with all other relief requested throughout
                the Complaint.



    F. Awarding judgment as to Count III in favor of each Other

Similarly Situated Individual and against Defendants for:

          1.    An amount which represents the sum of all medical
                bills the Defendant did not pay as to each member
                of the class;

          2.    Interest at the rate of 121 on the outstanding
     Case 3:20-cv-00981-CCC Document 2 Filed 06/17/20 Page 30 of 39

                    ©                              ©
                billing;

          3.    Attorneys fees;

          4.    Along with all other relief requested throughout
                the Complaint.


     G. Awarding judgment as to Count IV in favor of named

Plaintiff and against Defendants for:

          1.    $3,484.04 and other amounts which represents the
                sum of all medical bills the Defendant did not pay-
                as to the named Plaintiff

          2.    Treble the amount of actual damages sustained
                pursuant to 73 P.S. § 201-9.2;

          3.    Attorney fees, expert fees and costs;

          4.    Along with all other relief requested throughout
                the Complains.


     H. Awarding judgment as to Count IV in favor of each Other

Similarly Situated Individual and against Defendants for:

          1. As to each Insured Class member, either the amount
          of actual damages sustained or the sum of $100, which
          ever is greater;

          2. Treble damages against the defendant;

          3. Attorney fees, expert fees and costs;

          4. Along with all other relief requested throughout the
          Complaint.


     I. Such other and further relief as the Court may deem just

and proper.

     J. All other relief requested throughout the Complaint.
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                 Respectfully submitted,

                 LAW OFFICE OF KANNEBECKER & MINCER, LLC



           BY:
                 Charles Kannebecker, Esq.
                 Derek B. Smith, Esq.
                 104 W. High St.
                 Milfcrd, PA 18337

                 Attorneys for Plaintiff
Case 3:20-cv-00981-CCC Document 2 Filed 06/17/20 Page 32 of 39


                         IN THE COURT OF COMMON PLEAS
                         OF PIKE COUNTY, PENNSYLVANIA

   CHERYL CICCONE, individually
   and on behalf of all others
   similarly situated,

           Plaintiffs                           NO.:    538 - 2020

           vs.
   PROGRESSIVE SPECIALTY INSURANCE
   COMPANY and PROGRESSIVE
   INSURANCE COMPANY

           Defendants.




                            AFFIDAVIT OF SERVICE


           I, Christina Battipaglia hereby certify that pursuant to the

   Pennsylvania Rules of Civil Procedure 403 and 404 et seq., a true

   and correct copy of the above-referenced Complaint in Civil

   Action was served upon defendant, Progressive Insurance Company,

   6300 Wilson Mills Road, Cleveland, Ohio, 44143 by FED EX, receipt

   attached and marked as Exhibit "A"      • on the_2_0^_ day of May.

   2020.
Case 3:20-cv-00981-CCC Document 2 Filed 06/17/20 Page 33 of 39




                            EXHIBIT "A"
    Case 3:20-cv-00981-CCC Document
 5/20/2020                                   2or shipment
                            Track your package    Filedwith06/17/20
                                                            FedEx Tracking Page 34 of 39


  IMPORTANT!
  We are continuing to respond to the impact of COVID-19 around the world.!                           . For COVID-19-relatad recipient
 •closures, you can redirect packages. Ask FedEx, or contact the shipper.




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                                  Wednesday 5/20/2020 at 9:29 am



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                                                       Signed for by: C.SALYAN


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                                                          GET STATUS UPDATES

                                                       OBTAIN PROOF OF DELIVERY




                                  FROM                                                                         TO

                                WK&L                                                     PROGRESSIVE INSURANCE COMPANY
                        CHRISTINA BATTIPOGLIA                                                 63C0 WILSON MILLS RD
                            104 VV HIGH ST                                                   CLEVELAND, OH US 44143
                       MILFORD, PA US 183371618
                             570 296-6471



        Shipment Facts

        TRACKING NUMBER                      SERVICE                               SIGNATURE SERVICES
        813938552446                         FedEx Priority Overnight              Direct signature required


        DELIVERY ATTEMPTS                    DELIVERED TO                         TOTAL PIECES
        1                                    Shipping/Receiving


        TERMS                                SHIPPER REFERENCE                    PACKAGING
        Shipper                              CICCONE                              Fee Ex Envelope


        SPECIAL HANDLING SECTION             STANDARD TRANSIT                     SHIP DATE
        Delve.- Weekday. Direct Signature
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                                             ©                                    ©
                                             5/20/2020 by 10:30 am                Tue 5/19/2020


        ACTUAL DELIVERY
        Wed 5/20/2020 9 29 am




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  Case 3:20-cv-00981-CCC Document 2 Filed 06/17/20 Page 35 of 39
5/20/2020                                                Track your package or shipment with FedEx Tracking
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        Wednesday, 5/2G/2G20

            9 29 am             OH                            Delivered


            8:06 am             BEDFORD HEIGHTS. OH           On FedEx vehicle fcr delivery


            7:59 am             BEDFORD HEIGHTS, OH           At local FedEx facility


            6 41 am             CLEVELAND, OH                 At destination sort facility


            4C9 am              MEMPHIS, TN                   Departed FedEx location


        Tuesday, 5/19/2020

            10:44 pm            MEMPHIS, TN                  Arrived at FedEx location


            7:30 pm             FITTSTOM, PA                  Left FedEx origin facility


            12 08 pm            PITTSTON, PA                  Picked up




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Case 3:20-cv-00981-CCC Document 2 Filed 06/17/20 Page 36 of 39



                       IN THE COURT OF COMMON PLEAS
                       OF PIKE COUNTY, PENNSYLVANIA

   CHERYL CICCONE, individually
   and on behalf of all others
   similarly situated,

        Plaintiffs,                           NO.: 538               i        <^3
                                                                              rn zo       .
        vs.                                                 rn rr
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   PROGRESSIVE SPECIALTY INSURANCE                           CI O
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   COMPANY and PROGRESSIVE                                   -—-5   73   zs. Cj -i:
                                                                                 3>
   INSURANCE COMPANY                                                     CD       73
                                                                    o
                                                                         CD
        Defendants.                                                 cs




                          AFFIDAVIT OF SERVICE


        I, Christina Battipaglia hereby certify that pursuant to the

   Pennsylvania Rules of Civil Procedure 403 and 404 et seq., a true

   and correct copy of the above-referenced Complaint in Civil

   Action was served upon defendant, Progressive Specialty Insurance

   Company, 6300 Wilson Mills Road, Cleveland, Ohio, 44143 by FED

   EX, receipt attached and marked as Exhibit "A"     . on the 20th

   day of May, 2020.



                                  ( kftsfipaC;ld^
                                  Christina Batrtipaglia
Case 3:20-cv-00981-CCC Document 2 Filed 06/17/20 Page 37 of 39




                           EXHIBIT
    Case 3:20-cv-00981-CCC Document
 5/20/2020
                                             2 Filed 06/17/20 Page 38 of 39
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 We are continuing to respond to the impact of COVID-19 around the worid. See our latest updates. For COVID-19-related recipient
 closures, you can redirect packages. Ask FedEx, or contact the shipper,


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                                  Wednesday 5/20/2020 at 9:29 am



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                                                      Signed for by: C.SALYAN




                                                          GET STATUS UPDATES

                                                       OBTAIN PROOF OF DELIVERV




                                  FROM                                                                         TO

                                WK&L                                                           PROGRESSIVE SPECIALTY
                        CHRISTINA BATTIPAGUA                                                   6300 WILSON MILLS ROAD
                            104 W HIGH ST                                                      CLEVELAND, OH US 44143
                       MlLFORD, PA US 183371618
                             570 256-6471



         Shipment Facts

        TRACKING NUMBER                      SERVICE                               SIGNATURE SERVICES
        813933552354                         FedEx Priority Overnight              Direct signature required


        DELIVERY ATTEMPTS                    DELIVERED TO                          TOTAL PIECES
                                             Shipping/Receiving


        TERMS                                SHIPPER REFERENCE                     PACKAGING
        Shipper                              CR                                    FedEx Envelope


        SPECIAL HANDLING SECTION             STANDARD TRANSIT                      SHIP DATE
        Deliver Weekday. Direct Signature
        Required
                                             ©                                    ©
                                             5/20/2020 by 10 30 am                Tue 5/19/2020


        ACTUAL DELIVERY
        Wed 5/20/2020 9 29 am




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  Case 3:20-cv-00981-CCC Document 2 Filed 06/17/20 Page 39 of 39
5/20/2020                                               Track your package or shipment with FedEx Tracking
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        Wednesday. 5/20/2C20

            9:29 am             OH                           Delivered


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            7 59 am             BEDFORD HEIGHTS.OH           At local FedEx facility


            6.41 am             CLEVELAND. OH                At destination sort facility


            4 09 am             MEMPHIS, TN                  Departed FedEx location


        Tuesday.5/19/2020

            1044 pm            MEMPHIS. TN                   Arrived'at FedEx location


            7:30 pm            PITTSTON, PA                  Left FedEx origin facility


            1203 pm            P1TTST0N. PA                  Picked up




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